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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF
                             ILLINOIS EASTERN DIVISION

DR. ROBERT GERBER,                     )
on behalf of Plaintiff and the         )
class members defined below,           )
                                       )
               Plaintiff,              )       21 CV 2749
                                       )       Judge Coleman
       v.                              )       Magistrate Judge Jantz
                                       )
MOHAWK, INC.,                          )
and JOHN DOES 1-10                     )
                                       )
               Defendant.              )


                                  NOTICE OF SETTLEMENT
       Plaintiff Dr. Robert Gerber, by and through his Counsel, respectfully submits this notice of

settlement to inform the Court that the Parties have resolved the matter on an individual basis. The

Parties have commenced the process of circulating a written settlement agreement for execution

and anticipate that a notice of voluntary dismissal will be filed within forty-five (45) days. In the

interim, Plaintiff respectfully requests that the Court vacate any and all pending deadlines and stay

the case, but that the Court retain jurisdiction and not dismiss the action at this time.



Dated: July 20, 2021

                                                    DR. ROBERT GERBER

                                                    By:/s__Dulijaza Clark__________

                                                    Daniel A. Edelman
                                                    Dulijaza Clark
                                                    Edelman, Combs, Latturner & Goodwin, LLC
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                                                    Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

        I, Dulijaza Clark, hereby certify that on July 20, 2021, I caused a true and accurate copy
of the foregoing document to be filed via the Court’s CM/ECF, which caused notification to be
sent via email to all counsel of record and caused notice to be delivered as follows.

Mail and E-Mail To:
MOHAWK, INC.
340 Production Court
Louisville, Ky 40299

And

MOHAWK, INC.
c/o William Hayes via:
sqhayes@aol.com

                                                     /s/ Dulijaza Clark
                                                     Dulijaza Clark

Daniel A. Edelman
Cathleen M. Combs
Dulijaza (Julie) Clark
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